         Case 2:13-cr-00351-SJF-SIL                      Document 226            Filed 05/05/15          Page 1 of 6 PageID #:
              (Rev. 06/05) Judgment in a Criminal Case           1061
              Sheet I



                                         UNITED STATES DISTRICT COURT
                        EASTERN                                   District of                     NEW YORK

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                                                                          Case Number:                      CR-13-351-002
                     BUSHRABAIG
                                                                          USMNumber:                        82410-053

                                                                          DOUGLAS T. BURNS ESQ.
                                                                          Defendant's Attorney                             FILED
THE DEFENDANT:                                                                                                   IN CLERK'S OFFICE
                                                                                                             us DISTRICT COURT E D N y
X pleaded guilty to count(s)        COUNT TWO (2) OF THE INDICTMENT
0 pleaded nolo contendere to count(s)
   which was accepted by the court.                                                                           * MAY 05 2015 *
0 was found guilty on count( s)                                                                                   LONG ISLAND OFFICE
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                      Offense Ended            Count
8USC1324,                     CONSPIRACY TO C~CEAL AND HARBOR AL\ENS FOR             6/12/2013          TW0(2)
8USC1324(aXI)(B)(i)           FINANCIAL GAIN          '             1
       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)

X Count(s)      ONE(!) AND THREE (3)                        is    X are dismissed on the motion of the United States.


         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notifY the court and United States attorney of material change in economtc circumstances.




                                                                                             ?J
                                                                          s/ Sandra J. Feuerstein

                                                                       Jrnreo~d!e

                                                                          SANDRA J. FEUERSTEIN, U.S.D.J.
                                                                          Name and Title of Judge


                                                                          MAY 5, 2015
                                                                          Date




AO           (Rev. 06/05) Judgment in a Criminal Case
             Sheet lA
          Case 2:13-cr-00351-SJF-SIL                 Document 226                Filed 05/05/15     Page 2 of 6 PageID #:
           •                                                 1062
AG 2458   •(Rev. 06/05) Judgment in Criminal Case
           Sheet 2 - Imprisonment
                                                                                                    Judgment   Page _ _.2'--- of   6
DEFENDANT:                    BUSHRABAIG
CASE NUMBER:                  CR-13-351-002


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


TIME SERVED


      0    The court makes the following recommendations to the Bureau of Prisons:




      0    The defendant is remanded to the custody of the United States Marshal.

      0 The defendant shall surrender to the United States Marshal for this district:
                a --------- 0                        a.m.     0 p.m.         on

           0    as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 before 2 p.m. on
           0    as notified by the United States Marshal.

           0    as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered                                                          to

at                                                   with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
            Case 2:13-cr-00351-SJF-SIL                  Document 226             Filed 05/05/15          Page 3 of 6 PageID #:
                                                                1063
AO 2458 ' (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3 - Supervised Release
                                                                                                           Judgment   Page           of   --.!I---
DEFENDANT:                    BUSHRABAIG
CASE NUMBER:                  CR-13-351-002
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


 FIVE (5) YEARS


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)l unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
X         The defendant shall not possess a firearm, annnunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments slieet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any r>ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,l'ersonal history or characteristics and shall permit the probation officer to make such notifications and to confmn the
           defendant s compliance with such notification requirement.
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·AO 2458.:   (Rev. 06/05) Judgment in a Criminal Case
                                                                1064
             Sheet 3A- Supervised Release
                                                                                          Judgment   Page   4   of - - - " - -
DEFENDANT:                  BUSHRABAIG
CASE NUMBER:                CR-13-351-002

                                       ADDITIONAL SUPERVISED RELEASE TERMS

I. The defendant shall comply with restitution order forfeiture agreement..

2. The defendant shall make full financial disclosure to the Probation Department.
.AO 2458   Case    2:13-cr-00351-SJF-SIL
            (Rev. 06/05) Judgment in a Criminal Case   Document 226                 Filed 05/05/15     Page 5 of 6 PageID #:
             Sheet 5 - Criminal Monetary Penalties             1065
                                                                                                     Judgment- Page   "-5_ _   of _   ___:6..__ _
 DEFENDANT:                         BUSHRABAIG
 CASE NUMBER:                       CR-13-351-002
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                       Fine                             Restitution
 TOTALS             $          100.00                                $          0                       $ 2,621,114.97



 0   The determination of restitution is deferred _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
     after such determination.

 X The defendant must make restitution (including community restitution) to the following payees in the amount

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
     specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
     3664(i), all nonfederal victims must be paid before the United States is paid.

 Name of Payee                                  Total Loss*                     Restitution Ordered               Priority or Percentage
 Restitution shall be
 distributed to the victims
 as set forth in the sealed
 Appendix A associated
 With this order. The Court
 orders that the US
 Department of Labor/Wage
 & Hour Division receive
 and distribute all restitution
 funds consistent with this
 judgment and its
 attachments. At the end of
 a period of 3 years from
 the entry of this judgment,
 if all of the victims have
 not been identified and                  2621114.97                        2621114.97
 located by the US
 Department of Labor/Wage
 & Hour Division, the
 remaining restitution funds
 may be deposited with the
 Department of Treasury.
 All restitution checks shall
 be made payable to "Wage
 Hour-Labor" and mailed
 to: U.S. Department of
 Labor/Wage & Hour
 Division, 1400 Old
 Country Rd., Suite 410.
 Westbury NY 11590-5119,
 Attn: Diane Callan,
 Assistant Director




 TOTALS                                 $_ _ _ _~26~2~1~1~14~.9~7-          $ _ _ _ _~26~2~1~1~14~.9~7-
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6    Schedule of Payments                         1066
                                                                                                        Judgment    Page _ _,_6_ of --'!.6_ __

 DEFENDANT:                  BUSHRABAIG
 CASE NUMBER:                CR-13-351-002

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    X    Lump sum payment of$ __,1"'00".'"'0"'0____ due immediately, balance due

           D     not later than                                     , or
           x     in accordance           0     C,     0    D,   0     E, or     x F below; or

 B    D Payment to begin immediately (may be combined with                    D C,       D D, or   D F below); or
 C    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of$                        over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    0    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    x    Special instructions regarding the payment of criminal monetary penalties:
              $2,621,114.97 Restitution imposed due immediately, and payable at the rate of $25000 payable within 60 days of sentencing
            and, thereafter, I 0% of monthly gross income while on supervision. Restitution shall be distributed to the victims as set
                forth in the sealed ApJX:ndix A associated with this order. The Court orders that the US Department of
             Labor/Wage & Hour D1vision receive and distribute all restitution funds consistent with this judgment and
             its attachments. At the end of a period of 3 years from the entry of this judgment, if all of the victims have
                not been identified and located by the US Department of Labor/Wage & Hour Division, the remaining
              restitution funds may be deposited with the Department of Treasury. All restitution checks shall be made
            payable to "Wage Hour-Labor" and mailed to: U.S. Department of Labor/Wage & Hour Division, 1400 Old
                       Country Rd., Suite 410. Westbury NY 11590-5119, Attn: Diane Callan, Assistant Director
 ~nle~s the court has expre~sly ordered otherwis~, if this judgment imposes imprisonmen~ payment of crinlinal mone!"ry penalties is due during
 tmpnsonment. All cnmmal monetary penalttes, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.                                                 ·




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

x     The defendant shall forfeit the defendant's interest in the following property to the United States:
      See Preliminary Order of Forfeiture attached to this judgment.
